                Case 1:21-cr-20513-CMA Document 26-1 Entered on FLSD Docket 02/18/2022 Page 1 of 4




                                                 UNITED STATES V. DAISUKE MIYAUCHI 1
                                                         SENTENCING CHART

         Case                         Charges                              Conduct                         Guideline Range                 Sentence
 United States v.            1 Count Conspiracy to             From June 1, 2017, through            Base Offense Level: 6               6 Months
 Cheung,                     Defraud the U.S.                  June 6, 2019, the defendant           Pecuniary Gain: 2                   Imprisonment
 Case No. 19-20538-                                            engaged in the exportation of         Market Value of Wildlife: 12        and 3 Years
 CR-                         2 Counts Smuggling Goods          protected turtles from Miami to       Acceptance of                       Supervised
 WILLIAMS/TORRES             from the U.S.                     his reptile business in Hong          Responsibility: -3                  Release
                                                               Kong. The turtles were                Total: 17; 24 – 30 Months
                             2 Counts Lacey Act                protected under Florida Law
                             Violation                         and CITES. The declaration            The Government did not file a
                                                               paperwork falsely stated that         §5K1.1 nor Rule 35 Motion.
                             3 Counts Attempted                the Florida protected turtles
                             Smuggling of Goods from           were bred in captivity, when
                             the U.S.                          they were in fact poached from
                                                               their native environments. See
                             Plead guilty to 1 Count of        United States v. Boesenberg,
                             Conspiracy                        Case      No.     19-20729-CR-
                                                               UNGARO. The defendant also
                                                               concealed the CITES protected
                                                               turtles to avoid declaration and
                                                               subsequent inspection.




        1
                Mr. Miyauchi’s offense level is 24 after accounting for a 3-level reduction for acceptance of responsibility. The guidelines for level
24 are 51 – 63 months imprisonment. On February 7, 2022, the Government filed its Motion for Downward Departure, recommending that the
Court grant Mr. Miyauchi a 40% reduction in his sentence. With only the Government’s recommendation of a 40% reduction, and no consideration
of the § 3553 factors, Mr. Miyauchi’s guidelines are 30 – 38 months imprisonment.
               Case 1:21-cr-20513-CMA Document 26-1 Entered on FLSD Docket 02/18/2022 Page 2 of 4




         Case                    Charges                                 Conduct                       Guideline Range             Sentence
 United States v. Pata, 1 Count Conspiracy to               From June 1, 2017, through           Base Offense Level: 6           4 Years’
 Case No. 19-20538-     Defraud the U.S.                    June 6, 2019, the defendant          Pecuniary Gain: 2               Probation
 CR-                                                        provided defendant Cheung            Market Value of Wildlife:
 WILLIAMS/TORRES 2 Counts Smuggling Goods                   with the CITES and Florida           TBD 2
                        from the U.S.                       protected       turtles.     The     Acceptance of
                                                            declaration paperwork falsely        Responsibility: - 2
                           2 Counts Lacey Act               stated that the Florida protected
                           Violation                        turtles were bred in captivity,
                                                            when they were in fact poached       During     sentencing, the
                           Plead guilty to 1 Count of       from their native environments.      Government made an ore
                           Conspiracy                       See      United      States     v.   tenus §5K1.1 Motion for
                                                            Boesenberg, Case No. 19-             reduction of sentence.
                                                            20729-CR-UNGARO.             The
                                                            defendant packed the turtles to
                                                            hide the CITES protected
                                                            turtles.




       2
                Although it is unclear from the plea agreement what the final market value was determined to be, the defendant packed every
package that defendant Cheung was held responsible for. The value of defendant Cheung’s wildlife amounted to more than $250,000, and less than
$550,000. See United States v. Cheung, Case No. 19-20538-CR-WILLIAMS/TORRES.
            Case 1:21-cr-20513-CMA Document 26-1 Entered on FLSD Docket 02/18/2022 Page 3 of 4




        Case                  Charges                       Conduct                        Guideline Range             Sentence
United States v.     1 Count – Conspiracy to From June 1, 2017, through              Base Offense Level: 6           18 Months
Boesenberg,          Defraud the U.S.           August 8, 2019, the defendant        Pecuniary Gain: 2               Imprisonment
Case No. 19-20729-                              hunted, captured, and took           Market Value of Wildlife: 12    and 2 Years
CR-UNGARO            Plead guilty to 1 Count of multiple hundreds of CITES           Organizer/Leader: 4             Supervised
                     Conspiracy                 and Florida protected turtles        Acceptance of                   Release
                                                from their natural Florida           Responsibility: -3
                                                habitat.    Several      recorded    Total: 21; 37 – 46 months
                                                conversations disclosed that he
                                                had poached as many as 600
                                                protected turtles in one night
                                                and enlisted the help of at least
                                                8 individuals in his turtle
                                                poaching enterprise. Recorded
                                                conversations also disclosed         The Government did not file a
                                                that the defendant provided the      §5K1.1 nor Rule 35 Motion.
                                                protected turtles to several other
                                                clients.
            Case 1:21-cr-20513-CMA Document 26-1 Entered on FLSD Docket 02/18/2022 Page 4 of 4




        Case                   Charges                        Conduct                      Guideline Range           Sentence
United States v.     1 Count Conspiracy to        The defendant ran a hunting        Plea Agreement not available  3 Years’
Lightsey,            Violate the Lacey Act        guide business where he would      via Pacer.                    Probation to
Case No. 03-14009-   Violation                    take hunters to specific                                         run
CR-NCR                                            advantageous locations to hunt                                   consecutively
                     1 Count Lacey Act            wildlife. The defendant hunted                                   for each
                     Violation                    ducks and snipes that were         The Government did not file a count
                                                  protected by the Migratory Bird    §5K1.1 nor Rule 35 Motion.
                     6 Counts Migratory Bird      Treaty and subject to several
                     Treaty Act Violation         regulations. During the course
                                                  of his hunting guides, the
                     Pled guilty to 6 Counts of   defendant committed several
                     Migratory Bird Treaty Act    violations, including taking
                     Violation                    ducks and snipes from a moving
                                                  air boat, operating a moving air
                                                  boat in the vicinity of where
                                                  ducks and snipes were known to
                                                  be present, taking ducks while
                                                  possessing lead shot, taking
                                                  ducks and snipes in excess of
                                                  the daily bag limit, killing and
                                                  crippling ducks and snipes
                                                  without making efforts to
                                                  retrieve them, leaving ducks
                                                  and snipes in locations without
                                                  their proper tag, and possessing
                                                  ducks and snipes belonging to
                                                  other members in the hunting
                                                  group.
